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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                         CIVIL MINUTES - GENERAL

No.      CV 07-6835-AHM(AJWx)                                             Date: August 4, 2009

Title: UMG RECORDINGS INC. VS. DIVX., INC

Present: The
Honorable    ANDREW J. WISTRICH, U.S. MAGISTRATE JUDGE

                                                          CS 08-04-09
           Ysela Benavides                                                                            N/A
                 Deputy Clerk                               Court Smart                          Tape No.
                Attorneys Present for Petitioner:                   Attorneys Present for Respondent:
                          Sean Morris                                          Colleen Bal
                                                                              Maura L. Rees
 Proceedings:                 1)PLAINTIFF’S MOTION TO COMPEL (1)RESPONSES TO
                              DISCOVERY; (2)ADDITIONAL CUSTODIANS; AND (3) SEARCH
                              TERMS AND CUSTODIAN METADATA AGAINST DIVX., INC.
                              2) DEFENDANT’S MOTION TO COMPEL RESPONSES TO
                              DISCOVERY FROM UMG (Interrogatory Nos. 10, 11 and 13 AND
                              REQUESTS FOR PRODUCTION NOS. 11 AND 96)

Case called. Counsel make their appearances. Court questions counsel and listens to their responses.

Divx’s motion to compel is granted as to request for production 11, and submitted as to the rest of the
motion. Separate order to issue.

UMG’s motion to compel responses to discovery is submitted for decision. Separate order to issue.


cc: Parties




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                                                               Initials of Preparer   yb




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